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  6

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  8                                 UNITED STATES DISTRICT COURT

  9                               CENTRAL DISTRICT OF CALIFORNIA

 10

 11 CORY BENSON, an individual,                   Case No. 2:22-cv-2760

 12                           Plaintiff,          COMPLAINT

 13         vs.                                   JURY TRIAL DEMANDED

 14 CALTO ENTERPRISES, INC., a California
    corporation; WEARC GLOBAL BUILD, LLC,
 15 a California limited liability company;
    ZHONGMING XIANG, an individual;
 16 RAYMOND HUNG, an individual; BIN
    QUAN, an individual; QUANHAO LIN, an
 17 individual; GUANG LIU, an individual;
    LONGBO LIU, an individual; and DOES 1-20,
 18 inclusive,

 19                           Defendants.
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  1          Plaintiff CORY BENSON (“Plaintiff” or “Benson”), an individual, complains and alleges

  2 against Defendants CALTO ENTERPRISES, INC. (“Calto”), a California corporation, WEARC

  3 GLOBAL BUILD, LLC (“Wearc”), a California limited liability company, ZHONGMING XIANG,

  4 an individual, RAYMOND HUNG, an individual, BIN QUAN, an individual, QUANHAO LIN, an

  5 individual, GUANG LIU, an individual, LONGBO LIU, an individual, and DOES 1-20, inclusive

  6 (collectively, “Defendants”), as follows:

  7                           I. PARTIES, JURISDICTION, AND VENUE

  8          1.     Plaintiff is, and all times mentioned herein was, a citizen and resident of the State of

  9 Washington.

 10          2.     Plaintiff is informed and believes, and based thereon alleges, that at all times

 11 mentioned herein Calto was a corporation founded under the laws of the State of California, whose

 12 primary corporate offices are located at 2691 Richter Avenue, Suite 107, Irvine, CA 92606.

 13          3.     Plaintiff is informed and believes, and based thereon alleges, that Zhongming Xiang

 14 is a current, or former, owner of Calto.

 15          4.     Plaintiff is informed and believes, and based thereon alleges, that Raymond Hung is

 16 a current, or former, owner of Calto.

 17          5.     Plaintiff is informed and believes, and based thereon alleges, that at all times

 18 mentioned herein Wearc was a limited liability company founded under the laws of the State of

 19 California, whose primary corporate offices are located at 2226 Greenfield Avenue, Arcadia, CA

 20 91006.

 21          6.     Plaintiff is informed and believes, and based thereon alleges, that Bin Quan is a

 22 current, or former, owner of Wearc.

 23          7.     Plaintiff is informed and believes, and based thereon alleges, that Quanhao Lin is a

 24 current, or former, owner of Wearc.

 25          8.     Plaintiff is informed and believes, and based thereon alleges, that Guang Liu is a

 26 current, or former, owner of Wearc.

 27          9.     Plaintiff is informed and believes, and based thereon alleges, that Longbo Liu is a

 28 current, or former, owner of Wearc.


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  1          10.    Plaintiff is informed and believes, and based thereon alleges, that each and every

  2 defendant sued herein was at all times mentioned herein the agent or employee of each of the

  3 remaining defendants and was, at all times, acting within the purpose and scope of its agency and/or

  4 employment. As such, whenever any reference is made in this Complaint to any act of any

  5 defendant(s), that allegation shall mean that each defendant acted individually and jointly with the

  6 other defendants.

  7          11.    This Court has personal jurisdiction over Defendants due to their substantial contacts

  8 with California, as alleged herein. Both Calto and Wearc have their primary corporate offices in

  9 Irvine, California, and Arcadia, California, and Zhongming Xiang, Raymond Hung, Bin Quan,

 10 Quanhao Lin, Guang Liu, and Longbo Liu are current or former owners of Calto and/or Wearc.

 11          12.    Pursuant to California Code of Civil Procedure § 395(a), venue is proper in this Court

 12 because both Calto and Wearc have their primary corporate offices in Irvine, California and Arcadia,

 13 California, and Zhongming Xiang, Raymond Hung, Bin Quan, Quanhao Lin, Guang Liu, and

 14 Longbo Liu are current or former owners of Calto and/or Wearc.

 15                                   II. FACTUAL ALLEGATIONS

 16          13.    On or around September 1, 2021 Plaintiff was approached by an individual named

 17 “Janny” with phone number +61 452 592 384 on WhatsApp Messenger, a mobile communications

 18 application (“Scammer 1”). Plaintiff is informed and believes, and based thereon alleges, that

 19 Zhongming Xiang, Raymond Hung, Bin Quan, Quanhao Lin, Guang Liu, and/or Longbo Liu falsely

 20 identified themselves as Janny to Plaintiff. Scammer 1 claimed to be an individual who had some

 21 investing success based on financial advice from her uncle.

 22          14.    On September 22, 2021, Scammer 1 guided Plaintiff to open an account with a

 23 foreign exchange market (“forex”) broker, IH Global Ltd. (“IH Global”), and its corresponding

 24 website, IHGlobal.net.

 25          15.    Scammer 1 advised Plaintiff that IH Global and IHGlobal.net provided their users

 26 with a direct plug-in to the MetaTrader 5 trading platform, which is a free application for traders to

 27 perform technical analysis and trading operations in the forex and other exchange markets.

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  1          16.    Scammer 1 then advised Plaintiff to deposit money into his “trading account” with

  2 IH Global by doing the following:

  3          “The procedure of deposit is like this, when you want to make deposit, please make
             the following information for us
  4          1. Your currency
             2. The amount that you will deposit
  5          3. When will you make the deposit (1 hour in advance is appreciated)
             Then we could provide you the corresponding bank account
  6          When your transfer is confirmed, the fund will be credited to your trading account
             immediately.
  7          That means if you want to make deposit, please contact us here directly, then we
             could provide the bank account for you, then you can use your own bank account
  8          to make wire transfer or your online banking to transfer, thank you”

  9          17.    On or around September 24, 2021, Plaintiff was contacted by a second individual

 10 with phone number +44 7859 480919 on WhatsApp Messenger who presented themselves as a

 11 representative of IH Global (“Scammer 2”). Plaintiff is informed and believes, and based thereon

 12 alleges, that Zhongming Xiang, Raymond Hung, Bin Quan, Quanhao Lin, Guang Liu, and/or

 13 Longbo Liu falsely identified themselves as this IH Global representative to Plaintiff.

 14          18.    In September 2021, Scammer 1 instructed Plaintiff to deposit funds in Plaintiff’s

 15 “trading account” with IH Global. Scammer 1 then advised Plaintiff she would instruct him to make

 16 certain “trades” on IHGlobal.net based on financial advice from her uncle, and she reassured

 17 Plaintiff he could withdraw his investment or profit from his “trading account” at any time.

 18          19.    From September 2021 through January 2022, Scammer 2 provided various wire

 19 transfer instructions to several different business bank accounts in the name of several different

 20 companies. Plaintiff made a total of ten (10) bank wire transfers to seven (7) different business bank

 21 accounts, in the total amount of $1,100,000.

 22          20.    From September 2021 through January 2022, Scammer 1 also instructed Plaintiff to

 23 open MetaTrader 5 and make certain forex “trades” on IHGlobal.net. These trades typically showed

 24 as profitable according to the MetaTrader 5 application Plaintiff was instructed to use.

 25          21.    On December 17, 2021, Scammer 1 instructed Plaintiff to make such a trade. Shortly

 26 of initiating the trade, the shown price fell abruptly and significantly, which triggered a so-called

 27 “forced liquidation” of Plaintiff’s “trading account.” The application showed this as resulting in an

 28 apparent negative balance of -$462,788 for Plaintiff.


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  1          22.    Scammer 2 contacted Plaintiff to advise the negative balance needed to be

  2 replenished within seven days. Scammer 1, who falsely advised Plaintiff she also had a forced

  3 liquidation sale of her account, encouraged Plaintiff to do as she was doing and to “solve the negative

  4 balance” by depositing more money into Plaintiff’s “trading account.”

  5          23.    Over the next several weeks, Scammer 2 instructed Plaintiff to make additional

  6 deposits into his “trading account” to cover the negative account balance and to attempt to earn the

  7 money back through future forex “trades.”

  8          24.    The application showed that the next several trades were successful and had built

  9 Plaintiff’s balance back up to approximately $784,000. On March 3, 2022, Scammer 1 instructed

 10 Plaintiff to again open MetaTrader 5 and make another forex “trade” on IHGlobal.net. Plaintiff

 11 made the trade and saw the price again fall abruptly and significantly, which again triggered a forced

 12 liquidation of Plaintiff’s “trading account.” The application showed this as resulting in an apparent

 13 negative balance of -$106,000 for Plaintiff.

 14          25.    On that day, Plaintiff was watching the market price from a source other than the

 15 MetaTrader 5 application that Scammer 1 and Scammer 2 had instructed him to use. Plaintiff

 16 noticed the price on that application was different than the real market price, and he realized

 17 Scammer 1 and Scammer 2 were manipulating their application in real time.

 18                                     FIRST CAUSE OF ACTION

 19                                   (Fraud Against All Defendants)

 20          26.    Plaintiff incorporates, adopts, and re-alleges as though fully set forth herein, each

 21 and every allegation in Paragraphs 1 through 25 above.

 22          27.    Defendants knowingly made false and fraudulent statements of material fact to

 23 Plaintiff by representing that they could provide Plaintiff with an investing opportunity by helping

 24 him create a counterfeit “trading account,” instructing him to deposit funds into the counterfeit

 25 “trading account” by wiring those funds to different business bank accounts in the name of several

 26 different companies and instructing him to make certain forex “trades” on their counterfeit platform,

 27 IHGlobal.net.

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  1          28.    The false and fraudulent representations of material fact include: (a) that Defendants

  2 could help Plaintiff create a counterfeit “trading account” for Plaintiff’s benefit, (b) that Plaintiff

  3 would receive a return on investment in the form of profits that would be sent to his “trading

  4 account” that could be withdrawn or used to make further trades, and (c) that Plaintiff could

  5 withdraw his investment or profit at his discretion.

  6          29.    Defendants knew the above-described misrepresentations made to Plaintiff were

  7 false and fraudulent when they were made.

  8          30.    Defendants made the above-described misrepresentations and engaged in such

  9 conduct to induce Plaintiff into relying on the misrepresentations.

 10          31.    Plaintiff relied on Defendants’ misrepresentations.

 11          32.    Defendants are jointly and severally liable for the misrepresentations made to

 12 Plaintiff because they each played an essential role working in concert to further the unlawful,

 13 fraudulent scheme.

 14          33.    Defendants actively and purposefully concealed their actions from Plaintiff by,

 15 among other things, purporting to provide Plaintiff with an investing opportunity by helping him

 16 create a counterfeit “trading account,” instructing him to deposit funds into the counterfeit “trading

 17 account” by wiring those funds to different business bank accounts in the name of several different

 18 companies, and instructing him to make certain forex “trades” on their counterfeit platform,

 19 IHGlobal.net.

 20          34.    As a result of his reliance, Plaintiff has incurred damages of over $1 million that he

 21 paid to Defendants between September 2021 and March 2022.

 22          35.    Defendants engaged in fraudulent and/or malicious conduct, in violation of public

 23 policy, so as to justify an award of exemplary and punitive damages in an amount according to

 24 proof.

 25                                   SECOND CAUSE OF ACTION

 26                            (Unjust Enrichment Against All Defendants)

 27          36.    Plaintiff incorporates, adopts, and re-alleges as though fully set forth herein, each

 28 and every allegation in Paragraphs 1 through 35 above.


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  1          37.    Plaintiff conferred a benefit upon Defendants through the payment of funds to a

  2 counterfeit “trading account” in exchange for their promise that those funds would be available for

  3 him to make certain forex “trades” for his benefit.

  4          38.    Plaintiff’s payments to Defendants were ultimately distributed to Defendants, to

  5 profit off of Plaintiff’s investment capital.

  6          39.    Defendants voluntarily accepted and retained the benefit of Plaintiff’s payments.

  7          40.    Defendants are jointly and severally liable for orchestrating the scheme to steal

  8 Plaintiff’s investment capital as part of an unlawful and fraudulent scheme, which induced Plaintiff

  9 to confer benefits on Defendants.        Each of the Defendants played an essential role as the

 10 orchestrators of the unlawful and fraudulent scheme described above.

 11          41.    Because Defendants knowingly created and orchestrated this scheme with the sole

 12 goal of stealing Plaintiff’s capital investments, the circumstances are such that it would be

 13 inequitable to allow Defendants to retain the benefit of the monies paid.

 14          42.    As a direct and proximate result of the above-described conduct, Plaintiff has been

 15 damaged and Defendants have been unjustly enriched by at least $1,100,000 from September 2021

 16 through March 2022.

 17                                     THIRD CAUSE OF ACTION

 18                      (Violation of 18 U.S.C. § 1962(c) Against All Defendants)

 19          43.    Plaintiff incorporates, adopts, and re-alleges as though fully set forth herein, each

 20 and every allegation in Paragraphs 1 through 42 above.

 21          44.    All Defendants formed an association-in-fact “enterprise” (“the Fraudulent

 22 Enterprise”) as that term is defined in 18 U.S.C. § 1961(4), that engages in, and the activities of

 23 which affect, interstate commerce.

 24          45.    The members of the Fraudulent Enterprise are and have been joined in a common

 25 purpose, have relationships with and among each other, and have associated through time sufficient

 26 to permit those associated to pursue the enterprise’s purpose.        Defendants forged symbiotic

 27 relationships and each defendant needed and depended upon the participation of the other defendants

 28 to accomplish their common purpose of defrauding Plaintiff through fraudulent conduct.


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  1 Specifically, the false and fraudulent representations of material fact include: (a) that Defendants

  2 could help Plaintiff create a counterfeit “trading account” for Plaintiff’s benefit, (b) that Plaintiff

  3 would receive a return on investment in the form of profits that would be sent to his “trading

  4 account” that could be withdrawn or used to make further trades, and (c) that Plaintiff could

  5 withdraw his investment or profit at his discretion.

  6            46.   Each Defendant has been employed by and/or associated with the Fraudulent

  7 Enterprise.

  8            47.   Each Defendant has knowingly conducted and/or participated in, directly or

  9 indirectly, the conduct of the Fraudulent Enterprise’s affairs through a pattern of racketeering

 10 activity consisting of numerous and repeated violations of the federal wire fraud statute, 18 U.S.C.

 11 § 1343, involving the use of interstate wire facilities to transfer money to execute a scheme to

 12 defraud. These acts, committed by interstate wire, included receiving wire payments that the

 13 Fraudulent Enterprise misrepresented: (a) would be held in Plaintiff’s “trading account” for future

 14 trading, (b) would be available for Plaintiff to invest so she could receive a return on investment in

 15 the form of profits that would be sent to his “trading account” that could be withdrawn or used to

 16 make further trades, (c) could be withdrawn by Plaintiff at his discretion, and (d) would otherwise

 17 remain in Plaintiff’s account for his own use.

 18            48.   Plaintiff has been injured by reason of the above-described conduct in that the

 19 members of the Fraudulent Enterprise have stolen more than $1 million of Plaintiff’s investment

 20 capital.

 21                                   FOURTH CAUSE OF ACTION

 22                                  (Violation of 18 U.S.C. § 1962(d))

 23            49.   Plaintiff incorporates, adopts, and re-alleges as though fully set forth herein, each

 24 and every allegation in Paragraphs 1 through 48 above.

 25            50.   The Fraudulent Enterprise is an association-in-fact “enterprise,” as that term is

 26 defined in 18 U.S.C § 1961(4), that engages in, and the activities of which affect, interstate

 27 commerce.

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  1            51.   Defendants have willfully combined, conspired, and agreed to violate 18 U.S.C. §

  2 1962(c), that is to conduct and/or participate in, directly or indirectly, the conduct of the Fraudulent

  3 Enterprise’s affairs through a pattern of racketing activity consisting of numerous and repeated

  4 violations of the federal wire fraud statute, 18 U.S.C. § 1343, involving the use of interstate wire

  5 facilities to transfer money to execute a scheme to defraud. These acts, committed by interstate

  6 wire, included receiving $1,100,000 of payments the Fraudulent Enterprise misrepresented: (a)

  7 would be held in Plaintiff’s “trading account” for future trading, (b) would be available for Plaintiff

  8 to invest so she could receive a return on investment in the form of profits that would be sent to his

  9 “trading account” that could be withdrawn or used to make further trades, (c) could be withdrawn

 10 by Plaintiff at his discretion, and (d) would otherwise remain in Plaintiff’s account for his own use.

 11            52.   Defendants knew of, agreed to, and acted in furtherance of the overall objective of

 12 the conspiracy by facilities this fraudulent scheme wherein they induced Plaintiff to wire money for

 13 investment into IHGlobal.net when their sole goal was to steal Plaintiff’s investment capital.

 14            53.   Plaintiff has been injured by reason of the above-described conduct in that the

 15 members of the Fraudulent Enterprise have stolen more than $1 million of Plaintiff’s investment

 16 capital.

 17                                     FIFTH CAUSE OF ACTION

 18                    (Request for Temporary Injunction Against All Defendants)

 19            54.   Plaintiff incorporates, adopts, and re-alleges as though fully set forth herein, each

 20 and every allegation in Paragraphs 1 through 53 above.

 21            55.   Plaintiff seeks to freeze Defendants’ assets and enjoin Defendants from dissipating

 22 assets pending disposition of this action.

 23            56.   There is a substantial likelihood that Plaintiff will prevail on the merits of its fraud,

 24 unjust enrichment, and RICO claims because Defendants perpetrated a fraudulent scheme whereby

 25 they created and operated an illusory forex foreign exchange scheme with the sole intention of

 26 inducing Plaintiff to invest so they could steal Plaintiff’s investment capital and divert it for their

 27 own use.

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   1          57.     If the Court does not grant a preliminary injunction, Defendants will continue

   2 activities that dissipate their assets such that Plaintiff will not be able to recover his investment

   3 capital, causing irreparable injury to Plaintiff.

   4          58.     Defendants will not suffer undue hardship or loss as a result of the issuance of

   5 preliminary injunction.

   6          59.     Issuance of a preliminary injunction would not adversely affect the public interest.

   7          60.     Plaintiff seeks waiver of the requirement to post a bond but is willing to post a bond

   8 if the Court deems it appropriate.

   9                                        PRAYER FOR RELIEF

  10          WHEREFORE, Plaintiff prays for the following relief:

  11          A.      An order freezing Defendants’ assets and enjoining and restraining Defendants from

  12 dissipating or encumbering any of their assts until the disposition of Plaintiff’s claims in this action;

  13          B.      An order granting judgment against Defendants, jointly and severally, for

  14 compensatory damages of at least $1,100,000, plus interests and costs;

  15          C.      An order granting restitution, including disgorgement of profits obtained by

  16 Defendants as a result of their acts of unjust enrichment;

  17          D.      An order granting Plaintiff treble damages, costs, and reasonable attorneys’ fees

  18 pursuant to 18 U.S.C. § 1964(c);

  19          E.      An order granting Plaintiff punitive and exemplary damages;

  20          F.      Any such other and further relief in law and/or equity that the Court deems equitable,

  21 just, and proper.

  22

  23     Dated: April 26, 2022                           HARRIS BRICKEN SLIWOSKI LLP

  24
                                                         By: __________________________________
  25
                                                             Jihee Ahn
  26                                                         Attorneys for Plaintiff
                                                             CORY BENSON
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   1                                    DEMAND FOR JURY TRIAL

   2           Pursuant to Federal Rules of Civil Procedure, Rule 38(b), and Local Rule 38-1, Plaintiff

   3 hereby respectfully demands a trial by jury with respect to all issues and claims asserted in this

   4 action.

   5

   6    Dated: April 26, 2022                           HARRIS BRICKEN SLIWOSKI LLP

   7
                                                        By: __________________________________
   8
                                                            Jihee Ahn
   9                                                        Attorneys for Plaintiff
                                                            CORY BENSON
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